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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 United States of America,                           )
                                                     )
                                Plaintiff,           )
                                                     )
 vs.                                                 )   Case No. 3:98CR30200-001-DRH
                                                     )
 Tammie M. Singleton,                                )
                                                     )
                                Defendant.           )

                                             ORDER

        This matter having come before the Court on a Motion to Dispose of Property filed by
 the

 United States and it appearing to the Court that the Motion is reasonable and proper and should

 be approved.

        WHEREFORE, It is ORDERED that the Clerk’s Office be authorized to destroy or

 otherwise dispose of the following property: Original Forfeiture Agreement and to return the

 Quit Claim Deed to Tammie Singleton, #04721-025, FCI-Danbury, Route 37 - Pembroke

 Station, Danbury, CT. 06811.




 DATED: May 17, 2006
                                                            /s/     David RHerndon
                                                            U. S. DISTRICT JUDGE
